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                                   1                                   UNITED STATES DISTRICT COURT

                                   2                                  NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4     CHASOM BROWN, et al.,                            Case No. 20-cv-03664-YGR (SVK)
                                   5                    Plaintiffs,
                                                                                          ORDER REGARDING RE-
                                   6             v.                                       ASSESSMENT OF DOCUMENTS FOR
                                                                                          WHICH PRIVILEGE HAS BEEN
                                   7     GOOGLE LLC,                                      CLAIMED
                                   8                    Defendant.                        Re: Dkt. No. 533
                                   9
                                              Pursuant to this Court’s Order at Dkt. 522, Google submitted a proposal for re-evaluating
                                  10

                                  11   some portion of the documents for which it has claimed privileged in this case. Dkt. 533. For

                                  12   context, Google’s privilege log has more than 25,000 entries, and Google has previously re-assessed
Northern District of California
 United States District Court




                                  13   830 documents. Id.; Dkt. 516-3 at 1, 4. The Court has evaluated Google’s submission and modifies
                                  14   it to ORDER as follows:
                                  15
                                              Google will re-review a random sample of 1000 documents from its privilege logs where
                                  16
                                       (i) the document has been designated as privileged in the document’s text, but no attorney is
                                  17
                                       identified on Google’s privilege log; and (ii) emails where an attorney is copied and does not
                                  18
                                  19   respond. Google will provide the results of the re-review (as a raw number and as a percentage of

                                  20   both documents reviewed and of documents for which privilege is claimed) to Plaintiffs and to the

                                  21   Court and will produce any documents that it determines were mis-designated as privileged no later
                                  22
                                       than April 29, 2022. The Court will then determine if the error rate warrants re-evaluation of
                                  23
                                       additional documents.
                                  24

                                  25          SO ORDERED.

                                  26   Dated: April 15, 2022

                                  27
                                                                                                   SUSAN VAN KEULEN
                                  28                                                               United States Magistrate Judge
